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SNAP-ON CREDITULG tvibit D Sagprcom Credit
Oaks, PA 19456

En 950 Technology Way, Suite 301

(PLEASE ADDRESS ALL CORRESPONDENCE Libertyville, IL 60048
ONLY TO THE ADDRESS TO THE RIGHT)> TOLL FREE: 877-777-8455

March 3, 2022

Account# 123563215

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veg JOEY KIMBROUGH
wee 1712 CANDYCTS
a = KOKOMO IN 46902-4411

Dear Joey Kimbrough,

We have received your correspondence regarding the above referenced account with Snap-on Credit LLC. Pursuant
to your request, we have concluded our review of your account and have validated:

® The account and amounts owed as set forth in your contract are correct as is the currently reported balance
of amounts due are correct , and

@ The information we have provided to the credit reporting agencies accurately represents your account
activity with Snap-on Credit LLC to the best of our knowledge.

As a result, no changes will be made to your account with the credit reporting agencies at this time.

if you believe that Snap-on Credit LLC is reporting inaccurate information about an account you have with us, please
send the following information to Snap-on Credit LLC, 950 TECHNOLOGY WAY, SUITE 301, LIBERTYVILLE, IL
60048:

Name of the account holder

Account number

Last four digits of the Social Security Number of the account holder

Account holder's date of birth

A copy of your credit report or other documentation that shows the information you are disputing that is on
file with the credit reporting agencies

If you need additional information, you may also call us at 877-777-8455 Ext. 7309.

Sincerely,

Compliance Department
Snap-on Credit LLC

126878-LEG-FYNC

